                Case 4:05-cr-40004-JPG                          Document 548 Filed 05/04/06                Page 1 of 6               Page ID
                                                                          #1366
"aAO 24513      (Re\ 06105) Judgrml in a Cnrninal Case
                Sheet I




                              SOUTHERN                                 District of                                 ILLINOIS

           UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                 V.
              CHRISTOPHER W. WILLIAMS
                                                                             Case Number:            4:05CR40004-009-JLF

                                                                             USM Number: 25046-001
                                                                              P t e r Cohen
                                                                              Defmd;inl'i Altornev
THE DEFENDANT:
MPleaded guilty to count(s)                1 of the Superseding Indictment.

17pleaded nolo contendere to count(s)
   whch was accepted by the court.
17was found guilty on count(s)                                                           U4r~4m
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

' I ' i l l e ~ S t ~ c t ~
...                                   .-
                                      S .. I-
                                            I.I~I, -l~   l l e.! ~ ~
                                                     ' I(-
                                                         C                                                     O ~ I ?i&ed
                                                                                                                        ?                       ..
                                                                                                                                                ('IIIIN
   21 U S C 84b                         C~nspiracyro hianufacture i)islrubuiu and Possess wilt1                  1.:4,!2'!?5                     Is

                                        Intent to Distribute Methamphetamine



       The defendant is sentenced as provided in pages 2 through                     9        of this judgment. The sentence is unposed pursuant to
the Sentencing Reform Act of 1984.
17The defendant has been found not guilty on count(s)
  Count(s)                                        17 is                17 are dismissed on the motion of the United States.




                                                                              J. Phil Gilbert                                   District Judge
                                                                              Name of Judge                                    Title ol'ludge



                                                                                         /
                                                                                             &
                                                                              Date
               Case 4:05-cr-40004-JPG                     Document 548 Filed 05/04/06                   Page 2 of 6             Page ID
                                                                    #1367
A 0 245B      (Rev. 06/05) Judgnicnt in Cvirninal Case
              Sheet 2 - Imprisonment

                                                                                                           .li~d:nienl   Page   -
                                                                                                                                2 of      9
DEFENDANT: CHRISTOPHER W. WILLIAMS
CASE MJMBEK: 4:05CR40004-009-JLF

                                                                   IMPRISONMENT

        The defendant is hereby convnitted to the custody of the United States Bureau of Prisons to be iniprisoned for a
total term of:

  240 months on Count 1 of the Superseding Indictment




           The court makes the followitlg recon~mendationsto the Bureau of Prisons:




           The defendant is remanded to the custody of the United States Marshal

           The defendant shall surrender to the United Slates Marshal for this district:
                at                                       0 a.m.       0 p.m.        on
                as notified by the United States Marshal.

     @ The defendant shall surrender for se~viceof sentence at the illstitution designated by the Bureau of Prisons:
                before 2 p.m. on
           @ as notified by the United States Marshal.
                as notified by the Probation or Pretr~alServices Office.


                                                                          RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                                 to

at                                                        :   with a certified copy of this judgment.



                                                                                                        UNLIEI) STATES M.<RSt{AL
               Case 4:05-cr-40004-JPG                   Document 548 Filed 05/04/06                  Page 3 of 6         Page ID
                                                                  #1368
AO 2 1 5 ~   (Rev. 06/05) Judgmenr in a rriminai Case
             Shect 3 - 5upervised lleiease
                                                                                                         Judgmnit Page   3 ot
DEFENDANT CHRISTOPHER W WILLIAMS                                                                                         -                   9

CASE SUMBER 4 05CR40004-009-JLF
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall he on supervised release for a term o f :

 1 0 years on Count 1 of the Superseding Indictment.



     The defendant must repolt to the probation office in the district to which the defendant is released within 72 hours of release from th
custody of the Bureau of'Pr~sons.
The defendant shall tlot commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defeudant shall submt to one drug test w~thln15 days of release from impnsonment and at least two per~odicdrug tests
thereafter, as determined by the coun.
 a 'lhe above drug testing condition is suspended, based on the court's determinatio~~that the defendant poses a low risk of
        fuhlre substance abuse. (Check, if applicable.)
 [id The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 [id The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 a The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
   student, as directed by the probation officer. (Check, if applicable.)
 a The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this udgment imposes a fine or restitution, it is a condition of supelvised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court as well as w ~ t hany additional condition
 011 the attached page.


                                           STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the coun or probation officer;
   2)    the defendant shall report to the probation olficer and shall submit a truthful and complete written repon within the first five days o
         each month;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instmctions of the probation officer;
   4)    the defendant shall suppon his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
         acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defeudant shall refrain from excessive use of alcohol and shall not purchase, possess, use, dlstribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescr~bedby a physic~an;
   8)     the defendant shall not frequent places where colltrolled substa~~ces
                                                                             are illegally sold, used, distributed, or administered;



  10)     the defendant shall permit aprobation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an
          contraband obselved in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement office
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
         permission of the court; and
           Case 4:05-cr-40004-JPG                      Document 548 Filed 05/04/06      Page 4 of 6           Page ID
A 0 2458   (Kcv. 06/05) Judgment in s Criminal C a c             #1369
           Sheet 3C - - Supcwised Release
                                                                                            Judgment   Page    4   of      9
DEFENDANT: CHRISTOPHER W. WILLIAMS
CASE NUMBER: 4:05CR40004-009-JLF

                                          SPECIAL CONDITIONS OF SUPERVISION

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $20.00 or ten
 percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, which includes urinalysis or other drug detection measures, and which may require residence andlor
 participation in a residential treatment facility. Any participation will require complete abstinence from all alcoholic
 beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing based on a
 co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of
 counseling.
              Case 4:05-cr-40004-JPG               Document 548 Filed 05/04/06                           Page 5 of 6              Page ID
                                                             #1370
                                                                                                         J u d g m e n l Page   5                  9
DEFENDANT: CHRISTOPHER W. WILLIAMS
CASE NUMBER: 4:05CR40004-009-JLF
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                        Assessment                                     -
                                                                       Fine                                      Restitution
TOTALS                $ 100.00                                      $ 250.00                                 $ 0.00



     The determination ofrestitution is deferred until             . An Amended Judgment in a Criminal Case(A0 245C) will be enter
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment_unless specified otbemise
     the priority order or percentage paynlent column%elow. However, pursuant to 18 8 s . 6 . 9 36648). all nonfederal victims must be p
     before the United States is pa~d.

Y a o ~ c,sf I'avec                                                                           Rc*titutit~nOrdcrcd               IBriorit\or l'crccntagc




TOTALS                                                      0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5; 3612(Q. All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

@f The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @f the interest requirement is waived for the        @ fme            restitution.
            the interest requirement h r the        fine           restitution is modified as follows:



* Findings for the total amount oflosses are re uired under Chapters 109A. 110. 1IOA, and 11311of Title 18 for offenses committed on or aft
September 13, 1994, hut before Apn123. 1998.
              Case 4:05-cr-40004-JPG                       Document 548 Filed 05/04/06                Page 6 of 6           Page ID
A 0 24511   ( R e v 06/05) Judgnient in a Crirnrnal rase             #1371
            Slicct 6 S c h e d u l e of Payments
                                                                                                                            6 of
DEFENDANT: CHRISTOPHER W. WILLIAMS
                                                                                                         Judgrncnt - f%gc
                                                                                                                            -                  9

CASE NUMBER: 4:05CR40004-009-JLF


                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payinent of the total cruninal lnonetaty penalties are due as follows:

A      &f   Lump suin payment of $                               due imn~nediately,balance due

                   not later than                                    , or
            0 in accordance                        C,       D,         E,or         F below; or

B      0 Payinent to begin iimnediately (may be cornhined with                UC,          D, or     F below); or

C           Payment UI equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to cominence                (e.g., 30 or 60 days) after the date of this judgment; or

D           Payment in equal                     (e.g., weekly, monthly, quarterly) installinents of $                      over a period of
                          (e.g., months or years), to coinmence                (e.g., 30 or 60 days) after release froin iinprisonmcnt to a
            term of supervision; or

E           Payment during the termof supervised release will commence within                   (e.g., 30 or 60 days) after release froin
            imprisonment. The court will set the payinent plan based on an assessment of the defendant's ability to pay at that time; or

F      &$ Special instructions regarding the payment of criminal inonetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater.



Unless the courthas expr~sslorderedothenvise, ifthis judgment imposes imprisonment, a inent ofcriminalinoi~etatypenalties is due durin
                                  i'
imprison~ept. All criinina inoneta penalties, except those payments made througl? t L Federal Bureau of Prisons' Inmate Flnanci
Responsibility Program. are made to x e clerk of the couil.

The defendant shall receive credit for all payinents previously made toward any criininal inonetaty penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant nuinber), Total Ainount, Joint and Several Amount,
      and corresponding payee, if appropriate.




C?    The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessinent, (2) restitution principal. (3) restjtution interest, (4) fine principal,
( 5 ) fine Interest, (6) comruun~tyrestltutlon, (7) penalties, and (8) costs, including cost of prosecution and court costs.
